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                                       EXHIBIT 1

                                        Sale Order




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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


         In re                                                            Chapter 11

         OPEN ROAD FILMS, LLC, a Delaware                                 Case No. 18-12012 (LSS)
         limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.
                                                                          Ref. Docket Nos. 9, 50 & ____

         ORDER (1) APPROVING ASSET PURCHASE AGREEMENT AMONG THE DEBTORS
         AND THE BUYER, (2) APPROVING SALE OF SUBSTANTIALLY ALL ASSETS FREE
         AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS
             PURSUANT TO BANKRUPTCY CODE SECTIONS 105, 363(b), (f) AND (m),
             (3) APPROVING ASSUMPTION, ASSIGNMENT AND SALE OF CERTAIN
         EXECUTORY CONTRACTS AND UNEXPIRED LEASES FREE AND CLEAR OF ALL
           LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS PURSUANT TO
         BANKRUPTCY CODE SECTIONS 363 AND 365, (4) DETERMINING THE AMOUNTS
           NECESSARY TO CURE SUCH EXECUTORY CONTRACTS AND UNEXPIRED
                       LEASES, AND (5) GRANTING RELATED RELIEF

                    The Court having considered the Motion for Orders (A)(I) Establishing Bid And Sale

         Procedures Relating to the Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the

         Debtors to Enter Into an Asset Purchase Agreement With Stalking Horse Bidder, (III)

         Establishing and Approving Procedures Relating to the Assumption, Assignment and Sale of

         Certain Executory Contracts and Unexpired Leases, Including Notice of Proposed Cure

         Amounts and (IV) Scheduling a Hearing to Consider the Proposed Sale and (B)(I) Approving the

         Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Assumption, Assignment and

         Sale of Certain Executory Contracts and Unexpired Leases, and (III) Granting Certain Related

         Relief [Docket No. 9] (the “Motion”), filed by Open Road Films, LLC and its affiliated debtors


         1
                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
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         and debtors in possession (the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”),

         seeking, among other things, entry of an order (i) authorizing the sale (the “Sale Transaction”) of

         substantially all of the Debtors’ assets (the “Purchased Assets”), free and clear of all liens,

         claims, interests, and encumbrances, pursuant to that certain Asset Purchase Agreement, dated as

         of [__________], 2018 (as amended, supplemented or otherwise modified, the “APA”),2 by and

         among the Debtors and [____________] (the “Buyer”), (ii) authorizing the assumption,

         assignment, and sale of certain executory contracts and unexpired leases as set forth in the APA,

         and (iii) granting related relief; and this Court having entered an order on October [___], 2018

         [Docket No. ___] (the “Bid Procedures Order”)3 approving, among other things, the Bid

         Procedures with respect to and notice of the Sale Transaction; and an Auction having been set for

         November [___], 2018 in accordance with the Bid Procedures Order; [and Buyer having

         submitted the sole Qualified Bid] [and an Auction having been held on _________, 2018]; and a

         hearing having been held on November [___], 2018 (the “Sale Hearing”) to consider approval of

         the APA and the Sale Transaction; and the Court having reviewed and considered the Motion,

         any responsive pleadings filed in connection with the Motion, the record in the above-captioned

         Chapter 11 Cases, and the representations of counsel at the Sale Hearing; and after due

         deliberation and sufficient cause appearing therefor;

                    IT HEREBY IS FOUND AND DETERMINED THAT:4

                    A.       Jurisdiction and Venue. This Court has jurisdiction over this matter and over

         the property of the Debtors and their respective bankruptcy estates pursuant to 28 U.S.C.


         2
                A true and correct copy of the form of the APA is attached hereto as Exhibit A.
         3
                Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion, in the Bid
                Procedures Order, or in the APA, as applicable.
         4
                All findings of fact and conclusions of law announced by the Court at the Sale Hearing are hereby incorporated
                herein to the extent not inconsistent herewith.
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         §§ 157(a) and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M),

         (N), and (O). Venue of these Chapter 11 Cases and the Motion is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409. The statutory and other legal predicates for the relief sought in the Motion

         and granted herein are Sections 105, 363, and 365 of the Bankruptcy Code and Bankruptcy Rules

         2002, 6004, 6006, 9008, 9014 and 9019.

                B.      Notice. As evidenced by the affidavits of service on file with the Court, due,

         proper, timely, adequate, and sufficient notice and a reasonable opportunity to object or be heard

         with respect to the Motion, the Auction, the Sale Hearing, the Sale Transaction, and the

         assumption and assignment of the Assumed Contracts has been provided in accordance with the

         Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the Bid Procedures Order to all

         known interested parties, including to (a) all persons known by the Debtors to have expressed an

         interest to the Debtors in a transaction with respect to the Purchased Assets during the past six

         (6) months; (b) all entities known by the Debtors to have asserted any lien or interest in the

         Purchased Assets; (c) all non-debtor parties to the Assumed Contracts; (d) the U.S. Trustee; (e)

         the Committee and its counsel; (f) any governmental unit known to have a claim in the Chapter

         11 Cases; (g) all other known creditors and equity security holders of the Debtors; (h) all persons

         that have requested special notice in the Chapter 11 Cases; and (i) all other persons as directed

         by the Court. In addition, the Debtors caused the Sale Notice to be published in the USA Today

         on October [___], 2018. Accordingly, except as otherwise set forth herein, no other or further

         notice of the foregoing or this Order is necessary or required.

                C.      Compliance with Bid Procedures Order. As demonstrated by evidence

         proffered or adduced and the representations of counsel at the Sale Hearing, the Debtors have

         conducted an adequate marketing process and a fair and open sale process in compliance with


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         the Bid Procedures Order. The Bid Procedures were substantively and procedurally fair to all

         parties, were the result of arm’s length negotiations, and afforded a full, fair, and reasonable

         opportunity for any interested party to make a higher or otherwise better offer to purchase the

         Purchased Assets. The Bid Procedures and the Bid Procedures Order have been complied with

         in all material respects by the Debtors and the Buyer.

                 D.      Corporate Authority. The Debtors and the Buyer (i) have full corporate power

         and authority to execute and deliver the APA and all other documents contemplated thereby,

         (ii) have all necessary power and authority to consummate the Sale Transaction, and (iii) have

         taken all necessary action to authorize and approve the APA and to consummate the Sale

         Transaction. No consents or approvals, other than those expressly provided for in the APA, are

         required for the Debtors to consummate the Sale Transaction.

                 E.      Business Justification. Approval of the APA and consummation of the Sale

         Transaction is in the best interests of the Debtors, the estates, creditors, and other parties in

         interest. The Debtors have demonstrated good, sufficient, and sound business purposes and

         justifications for the sale of the Purchased Assets to the Buyer pursuant to Section 363(b) of the

         Bankruptcy Code.

                 F.      Highest and Otherwise Best Offer. The consideration to be provided by the

         Buyer pursuant to the APA: (i) is fair and reasonable; (ii) is the highest and otherwise best offer

         for the Purchased Assets; and (iii) constitutes reasonably equivalent value and fair consideration

         for the Purchased Assets under the Bankruptcy Code, the Uniform Voidable Transactions Act,

         the Uniform Fraudulent Transfer Act, the Uniform Fraudulent Conveyance Act, and any similar

         applicable laws of the United States, any state, territory, possession thereof, and the District of

         Columbia. The terms and conditions set forth in the APA are fair and reasonable under the


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         circumstances and were not entered into for the purpose of, nor do they have the effect of,

         hindering, delaying, or defrauding any creditor of the Debtors under any of the foregoing federal

         or state laws or any other applicable laws.

                G.      Good Faith Purchaser. The APA and the Sale Transaction were proposed,

         negotiated, and entered into by and among the Debtors and the Buyer without collusion or fraud,

         in good faith, and at arm’s length. The Buyer is a good faith purchaser within the meaning of

         Bankruptcy Code Section 363(m) and is therefore entitled to the full protection of that provision

         with respect to the APA and the Sale Transaction. There has been no showing that the Debtors

         or the Buyer have engaged in any action or inaction that would cause or permit the APA or the

         Sale Transaction to be avoided or any costs or damages to be imposed under Bankruptcy Code

         Section 363(n). The Buyer is not an “insider” of the Debtors as that term is defined in

         Bankruptcy Code Section 101(31).

                H.      Legal, Valid, and Binding Transfer. The Purchased Assets are property of the

         Debtors’ estates and title thereto is vested in the Debtors’ estates within the meaning of Section

         541(a) of the Bankruptcy Code. The transfer of the Purchased Assets to the Buyer will be a

         legal, valid, and effective transfer of the Purchased Assets and, except as provided in the APA or

         this Order, will vest the Buyer with all right, title, and interest of the Debtors to the Purchased

         Assets free and clear of all liens, claims, interests, and encumbrances, unless specifically

         assumed by the Buyer pursuant to the APA. The APA is a valid and binding contract between

         the Debtors and the Buyer and shall be enforceable according to its terms.

                I.      Free and Clear. The Buyer would not have entered into the APA and would not

         consummate the Sale Transaction if the transfer of the Purchased Assets to the Buyer and the

         assumption and assignment of the Assumed Contracts to the Buyer were not free and clear of all


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         liens, claims, interests, and encumbrances as provided for herein. Subject to the provisions of

         this Order and except as may be specifically provided in the APA or this Order, the Debtors may

         sell the Purchased Assets free and clear of all liens, claims, interests, and encumbrances because,

         in each case, one or more of the standards set forth in Section 363(f)(1) through (5) of the

         Bankruptcy Code have been satisfied. Each entity with a lien, claim, interest, or encumbrance in

         the Purchased Assets to be transferred on the Closing Date: (i) has, subject to the terms and

         conditions of this Order, consented to the Sale Transaction or is deemed to have consented; (ii)

         could be compelled in a legal or equitable proceeding to accept money satisfaction of such lien,

         claim, interest, or encumbrance; or (iii) otherwise falls within the provisions of Bankruptcy Code

         Section 363(f). Those holders of liens, claims, interests, and encumbrances who did not object to

         the Motion are deemed to have consented to the Sale Transaction and the relief provided for

         herein pursuant to Bankruptcy Code Section 363(f)(2).

                J.      Not a Sub Rosa Plan. The APA and Sale Transaction do not constitute an

         impermissible sub rosa chapter 11 plan for which approval has been sought without the

         protections that a disclosure statement would afford. The APA and the Sale Transaction neither

         impermissibly restructure the rights of the Debtors’ creditors nor impermissibly dictate a

         liquidating plan for the Debtors.

                K.      No Successor Liability. The Buyer (i) is not, and shall not be, considered a

         successor in interest to the Debtors, (ii) has not, de facto or otherwise, merged with or into the

         Debtors, (iii) is not a continuation or substantial continuation of the Debtors or any enterprise of

         the Debtors, and (iv) is not holding itself out to the public as a continuation of the Debtors.

         Except as otherwise specifically provided in the APA, the transfer of the Purchased Assets to the

         Buyer and assumption by the Debtors and assignment to the Buyer of the Assumed Contracts do


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         not and will not subject the Buyer to any liability whatsoever with respect to the operation of the

         Debtors’ businesses before the Closing Date or by reason of such transfer under the laws of the

         United States, any state, territory, or possession thereof, or the District of Columbia, based, in

         whole or in part, directly or indirectly, on any theory of law or equity, including, without

         limitation, any theory of antitrust, successor, transferee, or assignee liability.

                  L.     Personally Identifiable Information. Notwithstanding anything to the contrary

         in the APA, personally identifiable information will not be considered Purchased Assets.

                  M.     Assumption of Executory Contracts and Unexpired Leases. Notice of the

         Debtors’ assumption and assignment to the Buyer of the Assumed Contracts has been provided

         to each non-debtor counterparty to an Assumed Contract, together with the amount, if any, to be

         paid to such non-debtor counterparty to cure any defaults under, and to otherwise comply with

         the requirements of Section 365(b) of the Bankruptcy Code with respect to each Assumed

         Contract (the “Cure Amounts”). As to each Assumed Contract, payment of the Cure Amounts

         set forth on Exhibit B hereto (or such other Cure Amounts as agreed, in writing, by the Debtors,

         the Buyer and the counterparty to the applicable Assumed Contract or ordered by this Court) is

         sufficient for the Debtors to comply fully with the requirements of Section 365(b) of the

         Bankruptcy Code. In addition, the Buyer has provided adequate assurance of its ability to

         perform its obligations under each of the Assumed Contracts within the meaning of Section 365

         of the Bankruptcy Code. All other requirements and conditions under the Bankruptcy Code for

         the assumption by the Debtors and assignment to the Buyer of the Assumed Contracts have been

         satisfied. Therefore, the Assumed Contracts may be assumed by the Debtors and assigned to the

         Buyer.




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                N.      Prompt Consummation. The Sale Transaction must be approved and

         consummated promptly in order to maximize value for the Debtors’ estates. Time is of the

         essence in consummating the Sale Transaction. The Debtors have demonstrated compelling

         circumstances and good and sufficient cause for the immediate approval and consummation of

         the transactions contemplated by the APA, including, without limitation, the Sale Transaction

         and the assumption and assignment of the Assumed Contracts, prior to, and outside of, a chapter

         11 plan.

                THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      Any objections filed or asserted in response to the Motion and the relief granted

         herein, to the extent not resolved as set forth herein or on the record at the Sale Hearing, are

         hereby overruled on the merits in their entirety.

                3.      The APA with the Buyer, including all of its terms and conditions, and the Sale

         Transaction are hereby approved.

                4.      Pursuant to Sections 363 and 365 of the Bankruptcy Code, the Debtors are

         authorized to (i) execute, deliver, perform under, consummate, and implement the APA and the

         Sale Transaction together with all additional documents as may be reasonably necessary or

         desirable to implement the APA and the Sale Transaction and (ii) take any and all actions as they

         deem necessary, appropriate, or advisable for the purpose of assigning, transferring, granting,

         conveying, and conferring to the Buyer or reducing to possession the Purchased Assets, or as

         may be necessary or appropriate to the performance of the obligations as contemplated by the

         APA and the Sale Transaction, including, without limitation, any and all actions reasonably

         requested by the Buyer which are consistent with the APA and the Sale Transaction.


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                5.      Pursuant to Sections 105(a), 363(f), and 365(b) of the Bankruptcy Code, upon the

         Closing of the Sale Transaction: (i) the transfer of the Purchased Assets to the Buyer pursuant to

         the APA shall constitute a legal, valid, and effective transfer of the Purchased Assets and shall

         vest the Buyer with all right, title, and interest in and to the Purchased Assets; (ii) the Purchased

         Assets shall be transferred to the Buyer free and clear of all liens, claims, interests, and

         encumbrances except those specifically assumed by the Buyer pursuant to the APA, with any

         such liens, claims, interests, and encumbrances of which the Purchased Assets are sold free and

         clear to attach to the proceeds of the Sale Transaction, in the order of their priority, with the same

         validity, force, and effect which they had against the Purchased Assets prior to the entry of this

         Order, subject to any rights, claims, and defenses the Debtors, their estates, and all interested

         parties may possess with respect thereto; and all persons are forever prohibited and enjoined

         from commencing or continuing in any manner any action or other proceeding, whether in law or

         equity, against Buyer with respect to any such liens, claims, interests, and encumbrances.

                6.      On the Closing Date, this Order shall be construed and shall constitute for any and

         all purposes a full and complete general assignment, conveyance, and transfer of the Debtors’

         interests in the Purchased Assets or a bill of sale transferring good and marketable title in the

         Purchased Assets.

                7.      This Order is and shall be effective as a determination that all liens, claims,

         interests, and encumbrances (other than those expressly assumed by the Buyer or permitted to

         survive under the APA) shall be and are, without further action by any person or entity,

         unconditionally released, discharged, and terminated with respect to the Purchased Assets as of

         the Closing Date, except as may otherwise be set forth in the APA or this Order. The provisions

         of this Order authorizing the sale and assignment of the Purchased Assets free and clear of all


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         liens, claims, interests, and encumbrances shall be self-executing, and notwithstanding the failure

         of the Debtors, the Buyer, or any other party to execute, file, or obtain releases, termination

         statements, assignments, consents, or other instruments to effectuate, consummate, and/or

         implement the provisions hereof, all liens, claims, interests, and encumbrances (other than those

         expressly assumed by the Buyer or permitted to survive under the APA) on or against such

         Purchased Assets, if any, shall be deemed released, discharged, and terminated.

                8.      Except as otherwise provided herein or in the APA, on the Closing Date, the

         Debtors’ creditors are authorized to execute such documents and instruments and to take all other

         actions as may be reasonably necessary to document and effectuate the release of their liens,

         claims, interests, and encumbrances in the Purchased Assets (other than those expressly assumed

         by the Buyer or permitted to survive under the APA), if any, as such liens, claims, interests, and

         encumbrances may have been recorded or may otherwise exist. If any such creditor fails to

         execute any such documents or instruments or take any such actions, the Buyer is authorized to

         execute such documents and instruments and to take such actions on behalf of the creditor so as

         to document the release of such liens, claims, interests, and encumbrances.

                9.      The Buyer and its successors and assigns shall not be deemed, as a result of any

         action taken in connection with the transfer of the Purchased Assets, to (i) be a successor to the

         Debtors or their estates, (ii) have, de facto or otherwise, merged or consolidated with or into the

         Debtors or their estates, or (iii) be a continuation or substantial continuation of the Debtors or

         any enterprise of the Debtors, and the Buyer shall have no successor, transferee, or vicarious

         liability of any kind or character, including, but not limited to, under any theory of foreign,

         federal, state, or local antitrust, environmental, successor, tax, ERISA, assignee, or transferee

         liability, labor, product liability, employment, de facto merger, substantial continuity, or other


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         law, rule, or regulation, whether known or unknown as of the Closing Date, now existing or

         hereafter arising, whether asserted or unasserted, fixed or contingent, liquidated or unliquidated

         with respect to the Debtors or any obligations of the Debtors arising prior to the Closing Date.

         Except as otherwise provided herein or in the APA, the transfer of the Purchased Assets to the

         Buyer pursuant to the APA shall not result in the Buyer or the Purchased Assets having any

         liability or responsibility for, or being required to satisfy in any manner, whether in law or in

         equity, whether by payment, setoff, or otherwise, directly or indirectly, any claim against the

         Debtors or against any insider of the Debtors or any liens, claims, interests, or encumbrances.

                10.     Upon the Closing, and except as otherwise expressly provided in the APA with

         respect to Assumed Liabilities, the Buyer shall not be liable for any claims against, and liabilities

         of, the Debtors or any of the Debtors’ predecessors or affiliates.

                11.     Pursuant to Section 365 of the Bankruptcy Code, the Debtors are authorized to

         assume the Assumed Contracts designated in the APA, make or cause to be made the Cure

         Amounts set forth on Exhibit B hereto (or such other Cure Amounts as agreed, in writing, by the

         Debtors, the Buyer and the counterparty to the applicable Assumed Contract or ordered by this

         Court), and assign the Assumed Contracts to the Buyer. The Buyer shall pay the undisputed

         portion of the Cure Amounts set forth on Exhibit B hereto (or such other Cure Amounts as

         agreed, in writing, by the Debtors, the Buyer and the counterparty to the applicable Assumed

         Contract or ordered by this Court) within one (1) business day of the Closing.

                12.     The Buyer has provided adequate assurance of future performance under the

         Assumed Contracts within the meaning of section 365 of the Bankruptcy Code.

                13.     The Assumed Contracts, consistent with the provisions contained herein, shall be

         transferred to, and remain in full force and effect for the benefit of, the Buyer in accordance with


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         their respective terms, notwithstanding any provision in any such Assumed Contract (including

         those of the type described in Section 365(b)(2) of the Bankruptcy Code) that prohibits, restricts,

         or conditions such assignment or transfer and, pursuant to Section 365(k) of the Bankruptcy

         Code, following payment of the Cure Amounts set forth on Exhibit B hereto (or such other Cure

         Amounts as agreed, in writing, by the Debtors, the Buyer and the counterparty to the applicable

         Assumed Contract or ordered by this Court), the Debtors shall be relieved from any further

         liability with respect to the Assumed Contracts after such assignment and sale to the Buyer.

                14.     All defaults or other obligations of the Debtors under the Assumed Contracts

         arising or accruing prior to the Closing (without giving effect to any acceleration clauses or any

         default provisions of the kind specified in Section 365(b)(2) of the Bankruptcy Code) shall be

         deemed cured, upon payment of the Cure Amounts set forth on Exhibit B hereto (or such other

         Cure Amounts as agreed, in writing, by the Debtors, the Buyer and the counterparty to the

         applicable Assumed Contract or ordered by this Court), and the Buyer shall have no liability

         arising or accruing under the Assumed Contracts on or prior to the Closing, except as otherwise

         expressly provided in the APA or this Order. The non-debtor counterparties to the Assumed

         Contracts are barred from asserting against the Debtors, their estates, the Buyer, and their

         respective successors and assigns, any default or unpaid obligation allegedly arising or occurring

         before the Closing, any pecuniary loss resulting from such default, or any other obligation under

         the Assumed Contracts arising or incurred prior to the Closing, other than the Cure Amounts set

         forth on Exhibit B hereto (or such other Cure Amounts as agreed, in writing, by the Debtors, the

         Buyer and the counterparty to the applicable Assumed Contract or ordered by this Court).

                15.     The failure of the Debtors or the Buyer to enforce at any time one or more terms

         or conditions of any Assumed Contract shall not be a waiver of such terms or conditions or of the


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         right of the Debtors or the Buyer, as the case may be, to enforce every term and condition of the

         Assumed Contracts. The validity of the assumption, assignment and sale of the Assumed

         Contracts to the Buyer shall not be affected by any existing dispute between any of the Debtors

         and any non-debtor counterparty to such Assumed Contract. Any party that may have had the

         right to consent to the assignment of any Assumed Contract is deemed to have consented for the

         purposes of Section 365 of the Bankruptcy Code.

                 16.     To the extent a non-debtor counterparty to an Assumed Contract failed to timely

         object to a Cure Amount set forth on Exhibit B hereto, such Cure Amount shall be deemed to be

         finally determined and any such counterparty shall be prohibited from challenging, objecting to,

         or denying the validity and finality of the Cure Amount at any time.

                 17.     The consideration provided by the Buyer under the APA constitutes (i) reasonably

         equivalent value under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, and the

         Uniform Voidable Transactions Act, (ii) fair consideration under the Uniform Fraudulent

         Conveyance Act and (iii) reasonably equivalent value, fair consideration and fair value under any

         other applicable Laws of the United States, any state, territory or possession thereof, or the

         District of Columbia. The consideration provided by the Buyer for the Purchased Assets under

         the APA is fair and reasonable and may not be avoided under Section 363(n) of the Bankruptcy

         Code.

                 18.     The APA and the Sale Transaction are undertaken by the Buyer without collusion

         and in good faith, as that term is used in Section 363(m) of the Bankruptcy Code and,

         accordingly, the reversal or modification on appeal of the authorization provided herein to

         consummate the APA and the Sale Transaction shall not affect the validity of the sale of the

         Purchased Assets to the Buyer, unless this Order is duly stayed pending such appeal. The Buyer


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         is a good faith Buyer of the Purchased Assets and is entitled to all of the benefits and protections

         afforded by Section 363(m) of the Bankruptcy Code.

                 19.     All persons that are in possession of some or all of the Purchased Assets as of or

         after the Closing are hereby directed to surrender possession of such Purchased Assets to the

         Buyer as of the Closing or at such time thereafter as the Buyer may request. The Debtors agree

         to exercise commercially reasonable efforts to assist the Buyer in assuring that all persons that

         are presently, or on the Closing Date may be, in possession of some or all of the Purchased

         Assets in which the Debtors hold an interest will surrender possession of the Purchased Assets

         either to (i) the Debtors before the Closing Date, or (ii) the Buyer on or after the Closing Date.

                 20.     This Order is and shall be binding upon and shall govern acts of all entities

         including, without limitation, all filing agents, filing officers, title agents, title companies,

         recorders of mortgages, recorders of fees, registrars of deeds, administrative agencies,

         governmental departments, secretaries of state, federal, state, and local officials, and all other

         persons, who may be required by operation of law, the duties of their office, or contract, to

         accept, file, register or otherwise record or release any documents or instruments that reflect that

         the Buyer is the assignee and owner of the Purchased Assets free and clear of all liens, claims,

         interests, and encumbrances (other than those expressly assumed by the Buyer or permitted to

         survive under the APA) (all such entities being referred to as “Recording Officers”). All

         Recording Officers are authorized to strike recorded liens, claims, interests, and encumbrances

         against the Purchased Assets recorded prior to the date of this Order unless the APA expressly

         provides that the Buyer is acquiring the Purchased Assets subject to such liens, claims, interests,

         and encumbrances.




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                21.     Following the Closing, no holder of any liens, claims, interests, or encumbrances

         on the Purchased Assets (other than those expressly assumed by the Buyer or permitted to

         survive under the APA) or other party in interest may interfere with the Buyer’s use and

         enjoyment of the Purchased Assets based on or related to such liens, claims, interests, and

         encumbrances, or any actions that the Debtors may take in their Chapter 11 Cases, and no party

         may take any action to prevent, interfere with, or otherwise enjoin consummation of the Sale

         Transaction.

                22.     No bulk sales law or any similar law of any state or other jurisdiction shall apply

         in any way to the transactions authorized herein, including the APA and the Sale Transaction.

                23.     This Order shall be binding in all respects upon and the terms and provisions of

         the APA and this Order shall inure to the benefit of the Debtors, their estates, all creditors, all

         holders of equity interest in the Debtors, any holders of liens, claims, interests, or encumbrances

         against or on all or any portion of the Purchased Assets, all counterparties to any executory

         contract or unexpired lease of the Debtors, the Buyer and its affiliates, successors, and assigns,

         and any subsequently appointed estate representative in the Chapter 11 Cases. The APA, the

         Sale Transaction and this Order shall be enforceable against and binding upon, and shall not be

         subject to rejection or avoidance by, any chapter 7 or chapter 11 trustee appointed in the Chapter

         11 Cases. Further, nothing contained in any plan of reorganization (or liquidation) confirmed in

         these Chapter 11 Cases or any order confirming any plan of reorganization (or liquidation) or

         any other order entered in these Chapter 11 Cases shall conflict with or derogate from the

         provisions of the APA or the terms of this Order.

                24.     The APA and any related agreements, documents, or other instruments

         contemplated thereby may be amended by the Debtors and the Buyer in a writing signed by such


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         parties without further order of the Court, provided that any such amendment does not have a

         material adverse effect on the Debtors or the Debtors’ estates.

                25.     The failure to include specifically any particular provision of the APA in this

         Order shall not diminish or impair the effectiveness of such provision, it being the intent of the

         Court that the APA be authorized and approved in its entirety.

                26.     To the extent of any inconsistency between the provisions of this Order, the APA,

         and any documents executed in connection therewith, the provisions contained in the Order, the

         APA, and any documents executed in connection therewith shall govern, in that order.

                27.     Notwithstanding the provisions of Bankruptcy Rule 6004(g) and 6006(d), this

         Order shall be effective and enforceable immediately and shall not be stayed.

                28.     This Court shall retain exclusive jurisdiction and power to, among other things,

         interpret, implement, and enforce the terms and provisions of this Order, the Sale Transaction,

         and the APA, all amendments thereto and any waivers and consents thereunder, and each of the

         agreements executed in connection therewith and the transactions contemplated thereby.

         Dated: November ____, 2018
                Wilmington, Delaware


                                                   Laurie Selber Silverstein
                                                   United States Bankruptcy Judge




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                                       EXHIBIT A

                                           APA




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                                       EXHIBIT B

                                       Cure Amounts




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